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VIA CM/ECF                                                       August 13, 2021

The Honorable Sherry R. Fallon
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street, Unit 14, Room 6100
Wilmington, DE 19801

        Re:        Chervon (HK) Limited v. One World Techs, Inc., C.A. No. 19-1293-LPS

Dear Magistrate Judge Fallon:

       Defendants respectfully respond to Plaintiffs’ August 6, 2021 letter brief requesting Rule
37 sanctions (D.I. 227). Defendants’ actions were reasonable under the circumstances, and their
delayed production of emails was both substantially justified and not prejudicial to Plaintiffs, so
sanctions are not warranted. Furthermore, Plaintiffs have not articulated any legal basis to justify
an imposition of sanctions under Rule 37 or otherwise, and Plaintiffs’ recitation of the facts is
incorrect in several material respects. Plaintiffs’ requested relief should therefore be denied.

I.      FACTS
        Defendants complied with their discovery obligations and the Court’s orders. The Court
ordered Defendants to explain the reasons why their email production was delayed, and granted
Plaintiffs leave to file a Rule 37 motion if Defendants’ explanation “leaves any question about
whether this is … harmless inadvertence or lack of a good faith search.” Ex. H. May 27, 2021 Tr.
at 35:16-24. The Cunningham Declaration carefully explains the good faith and justifiable
reasons why Defendants’ production of emails was delayed. See Ex. A, Cunningham Decl.
        A.         Defendants Searched For And Produced Emails But Encountered A
                   Technical Problem With the Mailbox Files.
        On April 22, 2020, Plaintiffs served their First Set of Email Requests. See Ex. A,
Cunningham Decl. ¶ 4. Defendants thereafter diligently attempted to produce emails stored in the
Microsoft Cloud using the Microsoft 365 Compliance Core eDiscovery tool. Id. ¶ 5. However,
technical problems with that tool led Defendants and DLA Piper to conclude that certain mailbox
files were corrupted and inaccessible. Id. ¶ 7. After several attempts to open the files using tools
offered by Microsoft and Relativity, Defendants were able to partially open the mailboxes, but
were only able to view a portion of the emails contained in those files. Id. ¶ 8. On October 15,
2020, Defendants produced the responsive, non-privileged emails that could be recovered. Id.
        On January 27, 2021, the parties entered a new email production protocol at the Court’s
urging. Id. ¶¶ 9-10. To facilitate production of emails under this new protocol, Defendants
downloaded each custodian’s entire mailbox from the Microsoft Cloud—a time-consuming
task—to allow DLA Piper to load the data onto its own eDiscovery platform, Relativity. Id. ¶ 11.



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        After two weeks of work (including getting help from Microsoft), Defendants succeeded
in downloading approximately 600 gigabytes of data onto a hard drive, which DLA Piper
received on February 15, 2021. Id. at ¶ 12. Thereafter, DLA Piper eDiscovery specialists
discovered that although Microsoft 365 had been unable to open the mailboxes stored in the
Microsoft Cloud, DLA Piper’s Relativity software tool was able to open those mailboxes when
stored locally on DLA Piper’s platform. Id. at ¶ 13. This was the first time anyone had been able
to access the previously inaccessible email files. DLA Piper immediately began to process the
emails under the January 2021 email protocol, which included modifying several of Plaintiffs’
proposed search strings to return more meaningful results. Defendants disclosed these modified
search strings to Plaintiffs on March 8, 2021. Id. at ¶ 14. Following a manual review for
privilege, Defendants substantially completed their email production in mid-May 2021. Id.
        Although not ideal, Defendants’ delay in producing emails was substantially justified by
the technical challenges they ultimately overcame. And contrary to Plaintiffs’ statement that
“discovery is closed” (Mot. at 4, fn. 7), fact discovery does not close until September 2, 2021,
and no depositions have been scheduled or taken. Therefore, Plaintiffs will have had Defendants’
email production for several months before Plaintiffs depose the relevant witnesses.
         B.        Plaintiffs’ Recitation Of The Facts Is Wrong In Several Respects.
       Plaintiffs claim the Court “ordered One World to revisit its email search.” Mot. at 1. On
the contrary, the Court ordered both parties to meet and confer “about the scope of the mutual
agreement with respect to email searching and production.” Ex. B, Jan. 7, 2021 Hr’g Tr. at
68:19-69:7. The resulting agreement, reached on January 27, 2021, required both parties to
negotiate search terms. See Ex. C. Defendants adhered to that agreement, but Plaintiffs did not.
        Plaintiffs also claim that “Counsel for One World chose to rely on One World’s
representation without any independent investigation in June 2020” (Mot. at 3), while also
claiming without evidence that Defendants “withheld” responsive emails “under the guise of
(untrue) file inaccessibility and corruptness.” Id. at 1. Contrary to Plaintiffs’ mischaracterization,
the Cunningham Declaration explains that Defendants and DLA Piper continued to investigate
the technical problems with accessing the relevant email files, and DLA Piper independently
attempted to repair the corrupted files using the Microsoft ScanPST tool. Cunningham Decl. ¶ 7.
The files remained inaccessible until DLA Piper was able to load the relevant mailboxes on its
internal eDiscovery platform (Relativity), which allowed DLA Piper to access mailbox files that
had been inaccessible up to that point. Id. ¶13.
         C.        Defendants Produced Their Responsive Emails More Than Two Months
                   Before Plaintiffs Belatedly Produced Thousands Of Pages Of Emails.
        Defendants completed their email production on May 17, 2021 without any Court order
directing them to do so. In contrast, Plaintiffs produced thousands of pages of emails responsive
to Defendants’ searches on July 30, 2021—exactly 30 days after the Court-ordered deadline for
Plaintiffs to complete their email production. See Ex. D, May 28, 2021 Order. To this day, it is
not clear that Plaintiffs’ email production is complete. See Ex. E. But again, no depositions have
been scheduled or taken, and there is no indication when depositions will begin, particularly with
the latest surge in COVID-19 cases globally.
      Thus, it is simply not true that Plaintiffs have “spent a year chasing down these emails
from One World.” Mot. at 4. The only emails Plaintiffs claim are “missing” from Defendants’


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production are emails between Defendants and The Home Depot. See Mot. at 2. But Plaintiffs
first requested Home Depot-related emails on December 18, 2020 (see Ex. F), less than five
months before Defendants completed their email production. But more important, Defendants
did produce emails between Defendants and The Home Depot, including every email that hit the
following search string: “*mower* w/10 ((copy* or compet* or infring* or patent) and (chervon
or ego or echo or “home depot” or “thd”)).” See Ex. G (emphasis added). Therefore, responsive
Home Depot-related emails are not “missing” from Defendants’ production.

II.      ARGUMENT
        Plaintiffs have failed to articulate any legal theory or standard by which the Court should
resolve Plaintiffs’ request for extraordinary relief. Mot. at 3. Even if Plaintiffs had articulated
such a theory, the facts here do not warrant sanctions under any theory.
         A.        Rule 37 Sanctions Are Not Warranted Because Defendants Did Not Violate
                   An Order To Provide Discovery, And They Remedied Their Production Of
                   Emails Months Before The Close Of Fact Discovery.
        Fed. R. Civ. P. 37(b)(2) permits a Court to impose sanctions where a party “fails to obey
an order to provide or permit discovery … .” There was no such order here. On the contrary, the
parties’ December 14, 2020 Joint Motion (D.I. 126) does not even mention email. And at the
January 7, 2021 hearing, the Court ordered both parties to meet and confer “about the scope of
the mutual agreement with respect to email searching and production” (Ex. B, Jan. 7, 2021 Hr’g
Tr. at 68:19-69:7), but the Court did not order Defendants to produce its emails by a date certain.
Defendants complied with the order to meet and confer, and Defendants unilaterally produced
their emails by May 17, 2021 after remedying the technical problem discussed above. Because
Defendants did not “fail[] to obey an order to provide or permit discovery,” sanctions under Rule
37(b)(2) are not available. See also Hawk Mtn. LLC v. Mirra, 2016 WL 3176567, at *2 (D. Del.
June 3, 2016) (“Plaintiffs have failed to show that [Defendants] did not comply with a court
order, as required to obtain sanctions pursuant to Rule 37(b).”).1
        In contrast to Defendants’ proper conduct, Plaintiffs violated the Court’s May 28 Order
by failing to produce their responsive emails by the Court-ordered deadline of June 30, 2021. See
Ex. D, May 28, 2021 Order; see also Ex. E. In a prior decision, this Court found it “difficult to
grant plaintiffs’ motion for sanctions pursuant to Rule 37 when plaintiffs themselves have failed
to comply with the court’s December 7, 2015 discovery order in that regard.” Hawk Mountain,
2016 WL 3176567, at *2. The same is true here—although Rule 37(b)(2) sanctions may be
warranted for Plaintiffs’ violation of the Court’s May 28 Order, they are not available as against
Defendants.
         Sanctions are not warranted under Rule 37(c)(1) either. That rule permits sanctions only
if a party “fails to provide information or identify a witness … unless the failure was
substantially justified or is harmless.” Here, Defendants did not fail to produce their responsive

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 These cases Plaintiffs cite (Mot. at fn. 3, 4, 5) do not apply here, because each case imposed
sanctions only after a party violated a court order. See Younes v. 7-Eleven, Inc., 312 F.R.D. 692
(D.N.J. 2015); Curtis T. Bedwell & Sons, Inc. v. Int’l Fidelity Ins. Co., 843 F.2d 683 (3d Cir.
1988); Ware v. Rodale Press, Inc., 322 F.3d 218 (3d Cir. 2003); In re Delta/Air Tran Baggage
Free Antitrust Litig., 846 F. Supp. 2d 1335, 1353-57 (N.D. Ga. Feb. 3, 2012).

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emails, and their delay in doing so is both substantially justified and harmless. See Ex. A,
Cunningham Decl.; see also Broadsoft Inc. v. Callwave Commc’ns LLC, 2015 WL 3542547, at
*2 (D. Del. June 1, 2015) (denying Rule 37 sanctions despite late supplementation of
contentions); 3M Co. & 3M Innovative Props. Co. v. Kerr Corp., No. 17-1730-LPS (D. Del.
Sept. 13, 2018), D.I. 63 (denying Rule 37 sanctions because request to compel was moot as party
provided samples). As discussed above, the only emails Plaintiffs claim are “missing” are those
with The Home Depot (Mot. at 2), which Defendants already produced. And Defendants’
production delay until May 2021 was substantially justified by the technical obstacles they
overcame and by the new email protocol the parties entered into in late January 2021. Indeed,
Defendants shared hit counts for their supplemental email production less than three weeks after
resolving the technical problems with the inaccessible email files. See Ex. A, Cunningham Decl.
¶ 13; Ex. G; see also Fed. R. Civ. P. 26(e)(1)(A) (supplemental production must occur “in a
timely manner”). Finally, the production delay was harmless, because Defendants completed
their email production at least four months before the close of fact discovery and before any
depositions were scheduled or taken. See Tracinda Corp. v. DaimlerChrysler AG, 502 F.3d 212,
243 (3d Cir. 2007) (“Production errors discovered at the pre-trial stage of litigation will result in
little, if any, expense or prejudice to the opposing party.”).
         B.        Sanctions Are Not Warranted Under 28 U.S.C. § 1927 Or The Court’s
                   Inherent Authority Either.
        For the reasons demonstrated above, the Court should reject Plaintiffs’ additional request
for sanctions under 28 U.S.C. § 1927 or the Court’s inherent authority. Section 1927 authorizes
sanctions only “in instances of a serious and studied disregard for the orderly process of justice.”
Ford v. Temple Hospital, 790 F.2d 342, 347 (3d Cir. 1986). Similarly, a court’s inherent
authority to impose sanctions arises where a party has “acted in bad faith, vexatiously, wantonly,
or for oppressive reasons.” Chambers v. NASCO, Inc., 501 U.S. 32, 45-46 (1991). Both standards
require a showing of “willful bad faith.” Hackman v. Valley Fair, 932 F.2d 239, 242 (3d Cir.
1991); Landon v. Hunt, 938 F.2d 450, 454 (3d Cir. 1991). As demonstrated above and in the
Cunningham Declaration, Defendants at all times acted in good faith and worked diligently to
resolve the technical challenges with gaining access to their inaccessible email files. Although
the delay in production was not ideal, Defendants’ conduct in resolving these technical obstacles,
producing responsive emails months before the close of fact discovery (and months before
Plaintiffs belatedly produced their emails), and the lack of any violation of a Court order is
nowhere close to the “willful bad faith” required for an imposition of sanctions.
         C.        The Court Should Deny Plaintiffs’ Unauthorized Motion To Compel Emails
                   Between The Home Depot And Defendants.
        As demonstrated above, Defendants have already produced emails between Defendants
and The Home Depot. But more fundamentally, Plaintiffs never raised this purported deficiency
in Defendants’ email production before filing this motion, including in any meet-and-confer, as
required by Section 8(g)(ii) of the Scheduling Order. Had Plaintiffs followed the rules or
reviewed Defendants’ production, they would know those emails had already been produced.
The Court should deny that portion of Plaintiffs’ motion as well. Over the course of several
months, Defendants repeatedly asked Plaintiffs to negotiate email search strings as required by
the parties’ January 27, 2021 agreement, but Plaintiffs refused to do so. Despite this, Defendants
remain willing to run a limited number of additional search strings through its email custodians if
Plaintiffs propose search strings designed to return meaningful results.

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                                   Respectfully submitted,

                                   /s/ Brian A. Biggs
                                   Brian A. Biggs (DE Bar No. 5591)

                                   cc: All Counsel of Record (via CM/ECF and email)




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